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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

AMANDA HOLLAND,

                             Plaintiff,

v.                                                            Case No. 6:19-cv-945-CEM-GJK

WESTSIDE SPORTSBAR &
LOUNGE,
INC. AND GARY KIRBY,

                      Defendants.
________________________________________

                          REPORT AND RECOMMENDATION 1

       This cause came on for consideration without oral argument on the

following motion:

      MOTION:         PLAINTIFF’S SECOND MOTION FOR FINAL
                      JUDGMENT OF GARNISHMENT (Doc. No. 105)


      FILED:          April 4, 2022
      _____________________________________________________________

       THEREON it is RECOMMENDED that the Motion is GRANTED.


       On November 5, 2020, judgment was entered in favor of Plaintiff and

against Defendants, stating, in relevant part, as follows: “IT IS ORDERED

1 Magistrate Judge David A. Baker substituting for Magistrate Judge Gregory J. Kelly.
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AND ADJUDGED That the Judgment is entered in favor of Plaintiff, Amanda

Holland and against Defendants, Westside Sportsbar & Lounge, Inc. and Gary

Kirby, in the amount of $727.50, for which each Defendant is jointly and

severally liable, for which sum let execution issue.” Doc. No. 65. On February

12, 2021, the Court awarded Plaintiff attorney’s fees of $14,981.25 and costs of

$540.00. Doc. No. 68. On March 8, 2022, a judgment totaling $15,521.25 was

entered in favor of Plaintiff and against Defendants in accordance with the

Court’s award of attorney’s fees and costs on February 12, 2021. Doc. No. 95. On

March 8, 2022, a judgment totaling $1,107.50 was entered in favor of Plaintiff

and against Defendant, Mr. Kirby, in accordance with the Court’s award of

attorney’s fees and costs on April 28, 2020. Docs. Nos. 53; 96.

      On November 23, 2021, the Clerk of this Court issued two Writs of

Garnishment directed to Space Coast Credit Union (the “Garnishee”) each in

the amount of $16,248.75 against Gary Kirby and Westside Sportsbar & Lounge,

Inc. (the “Writs of Garnishment”). Doc. Nos. 71, 72. On December 3, 2021,

Garnishee filed its Answer to the Writs of Garnishment (the “Answer”). Doc.

No. 75. Pursuant to Florida Statute section 77.055, on December 3, 2021, Plaintiff

served the Writs of Garnishment on Defendants. Doc. Nos. 73, 74.




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      On December 9, 2021, Defendant, Gary Kirby filed a Claim of Exemption

and Request for Hearing under Fla. Stat. 77.041 (the “Claim for Exemption”).

Doc. No. 77. Kirby’s Claim for Exemption was made in response to Plaintiff’s

Writ of Garnishment issued against Kirby in the amount of $16,248.75. Doc. No.

71. On December 9, 2021, Plaintiff filed a response to Kirby’s Claim for

Exemption (Doc. No. 76), which contradicted the facts stated in the Claim for

Exemption. On January 25, 2022, the undersigned held an evidentiary hearing,

at which, was Kirby’s burden to show Claim for Exemption was appropriate.

Doc. No. 88 at 2. On February 14, 2022, the undersigned issued an order

denying Kirby’s Claim for Exemption, treating Kirby’s failure to appear as an

abandonment of the Claim for Exemption. Id. at 3. The Court also directed

Plaintiff to file a motion reducing the Writs of Garnishment to a judgment or a

motion dissolving the Writs of Garnishment. Id.

      On April 4, 2022, Plaintiff filed a second motion seeking final judgments

of garnishment (the “Second Motion”). Doc. No. 105. In the Second Motion

Plaintiff states that Garnishee, is indebted to Gary Kirby in an amount totaling

$297.70 and to Westside Sportsbar & Lounge, Inc. in the amount of $53.26 (Doc.

No. 105 at 2-3) and requests the Court enter final judgments of garnishment in

these respective amounts in favor of Plaintiff and against Garnishee. Id. at 2.

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      Section 77.083, Florida Statutes, provides that a judgment shall be entered

against a garnishee based upon its liability as disclosed in the garnishee’s answer

or, if a reply is filed, after a trial on the reply. Any judgment must not exceed the

amount unpaid on the final judgment against a defendant or the amount of the

garnishee’s liability to a defendant. § 77.083, Fla. Stat. (2022).

      After review of the relevant law, the Plaintiff’s Second Motion, the Writs of

Garnishment, the Garnishee’s answer, and all other relevant filings and

documents, the undersigned recommends that the Second Motion be granted

and for the Clerk to issue the final judgments of garnishment. In the absence of

any request for a garnishment fee, judgment is appropriate for the full amount

withheld.

      Accordingly, it is RECOMMENDED that the Second Motion (Doc. No.

105) be GRANTED and final garnishment judgments be entered as follows:

      1.     In favor of Plaintiff and against Space Coast Credit Union in the

   amount of $53.26 for funds held for Westside Sportsbar & Lounge, Inc.; and

      2.     In favor of Plaintiff and against Space Coast Credit Union in the

   amount of $297.70 for funds held for Gary Kirby.




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                               NOTICE TO PARTIES

            A party has fourteen days from the date the Report and

Recommendation is served to serve and file written objections to the Report and

Recommendation’s factual findings and legal conclusions. Failure to serve

written objections waives that party’s right to challenge on appeal any

unobjected-to factual finding or legal conclusion the district judge adopts from

the Report and Recommendation. 11th Cir. R. 3-1.

      RECOMMENDED in Orlando, Florida, on May 13, 2022.




Copies to:
Presiding District Judge
Unrepresented party




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